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                                      ORDERED.


     Dated: January 24, 2018




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FT. MYERS DIVISION

 IN RE:                                                        CASE NO.: 9:17-bk-10086-FMD
                                                                                CHAPTER 7
 Gary Gissiner,

        Debtor,

 Charmaine R. Gissiner,

       Joint Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on Nationstar Mortgage LLC d/b/a

Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. 9). No appropriate

response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:

   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.

   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured

Creditor’s interest in the following property located at 2220 SE 5th St, Cape Coral, Florida


                                               1
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33990-2758 in Lee County, Florida, legally described as:

LOTS 35 AND 36, BLOCK 1374, UNIT 18, CAPE CORAL SUBDIVISION ACCORDING TO
THE MAP OR PLAT THEREOF AS RECORDED IN PLAT BOOK 13, PAGES 96
THROUGH 120, INCLUSIVE, OF THE PUBLIC RECORDS OF LEE COUNTY, FLORIDA.

    3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured

Creditor to exercise any and all in rem remedies against the property described above. Secured

Creditor shall not seek an in personam judgment against Debtor(s).

    4. Secured Creditor is further granted relief in order to contact the Debtor(s) by written

correspondence in order to discuss the possibility of a forbearance agreement, loan modification,

refinance agreement or loan workout/loss mitigation agreement.

    5. Attorneys’ fees and costs of up to $631.00 are awarded for the prosecution of this Motion

for Relief from Stay, but are not recoverable from the Debtor(s) or the Debtor(s)’ Bankruptcy

estate.



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Attorney, Bouavone Amphone, is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.




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